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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

JONATHAN DAVEY,                     )
                                    )
                                    )
                        Plaintiff   )                 Civil Action No. 19-0106 (ABJ)
                                    )
      v.                            )
                                    )
UNITED STATES DEPARTMENT            )
OF JUSTICE,                         )
FEDERAL BUREAU                      )
OF INVESTIGATION,                   )
                                    )
                        Defendant.  )
____________________________________)

                              DEFENDANT’S STATUS REPORT

       Pursuant to the Court’s Minute Order dated June 19, 2019, Defendant Federal Bureau of

Investigation (“FBI”) respectfully submits this status report in this Freedom of Information Act

(“FOIA”) case.

       The FBI has advised that it sent plaintiff a letter dated August 30, 2019, which states that

the FBI has located approximately 29,818 pages of potentially responsive records and that the

anticipated duplication fees will exceed the $25.00 that plaintiff previously indicated he is

willing to pay. Exhibit A at 1. According to that letter, plaintiff has 30 days from August 30,

2019, to provide (i) written notification to the FBI as to his preferred duplication format and

(ii) advance payment of 50% of the estimated duplication fees associated with his preferred

duplication format or one of the other options for handling such fees. Id. at 2. Alternatively,

plaintiff may narrow the scope of his request to try to reduce the estimated duplication fees. Id.

       The FBI has advised that, as of September 4, 2019, it has not received plaintiff’s response

to its August 30, 2019, letter. Accordingly, the FBI proposes filing another status report on or
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before October 30, 2019, to afford plaintiff time to respond to the FBI’s letter and to allow the

FBI to commence processing and/or the parties to narrow the scope of plaintiff’s request.

Date: September 5, 2019
                                              Respectfully submitted,

                                              JESSIE K. LIU, D.C. Bar # 472845
                                              United States Attorney

                                              DANIEL F. VAN HORN, D.C. Bar # 924092
                                              Chief, Civil Division

                                              By: /s/ Marsha W. Yee
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